                                 CO U9RTEntered
       Case 0:19-cr-60256-WPD Document    M INonUTES
                                                 FLSD Docket 09/13/2019 Page 1 of 1

                        U nited States M agistrate Judge A licia 0 .Valle
                              Courtroom 1l0                                   Date:9/13/2019 Time:11:00a.m.
Defendant: GabrielAIbaIa(B)                 J#:20466-104 Case#: .                                Q 3ç-
AUSA: M.CatherineKoontzUœ                               ttorney:MichaelBrianCohen,Esq.
Violation: Possession ofChild Pornogra hy
Proceeding:ArraignmentyReportRe Counsel            CJA Appt:
Bond/PTD Held:' -'Yes b
                      '''No     Recom mended Bond:
BondSetat:$250K PSB                                Co-signed by:
 1
 - surrenderand/ordo notobtainpassports/traveldocs                       Language: English
 r ReporttoPTSas directed/or       x'saweek/monthby                      Disposition'
                                                                                    .
   phone:      x'saweek/monthinperson
 r   Random urine testing by PretrialServices
     Treatmentasdeemed necessary                                                RaadinjifjndictmentW aived
 1- Refrainfrom excessiveuseofalcohol                                           NQt ullN peaenere
 1- Participate in mentalhealth assessment& treatment                           stanjing Disccveryofderreqtlested
 1- Maintainorseekfull-timeemployment/education                                              .
 1- Nocontactwithvictims/witnesses
 f-- No firearm s                                                                                 -ï
 f- Notto encum berproperty                                                                                         #

 r   M ay notvisittransportation establishm ents
 T HomeConfinement/ElectronicMonitoringand/or
     Curfew                               am ,paid by
 r- Allow ances:M edicalneeds,courtappearances,attorney visits,
    religious,em ploym ent
 1
 - Travelextended to:
 C- Other:
NEXT COURTAPPEARANCE Date;                  Tim e:             Jpdge:                         Place:
ReportRE Counsel:
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
StatusConference RE:
D.A.
   R. l'.           :                                                   Timeincourt: .. >-v .
  CHECK IFAPPLICABLE:     Forthereasonsstated bycounselforthe Defendantand findingthatthe endsofjustice served by
  grantingtheoretenusm otionforcontinuanceto hirecounseloutw eigh thebestinterestsofthepublic& the Defendantina
  SpeedyTrial,theCourtfindsthattheperiod oftim efrom today,through and including            .shallbedeem ed
  excludableinaccordancew ith tbe provi
                                      sionsoftbe SpeedyTrialAçt,18 USC 3161 etseq..

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